          Case 1:20-cr-00412-AT Document 175 Filed 04/15/22 Page 1 of 1




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                                                                      April 15, 2022

VIA ECF
Honorable Analisa Torres
United States District Court Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Timothy Shea, et al., 20-CR-412 (AT)

Dear Judge Torres:

       On behalf of defendant Timothy Shea in the above-captioned matter, we respectfully write
to request permission for Mr. Shea to be arraigned on the Superseding Indictment via
videoconference. The Superseding Indictment was filed yesterday and the Court has indicated Mr.
Shea can be arraigned before the Magistrate Judge. As Mr. Shea lives in Colorado, a video or
teleconference will help expedite the process of an arraignment. If the Court accepts an
arraignment to proceed via video or telephone, Mr. Shea will promptly complete all necessary
waivers in order to conduct the arraignment remotely.

        In the alternative, if the Court requires Mr. Shea to appear at the Court in-person, and being
that his travel is restricted due to bail conditions, we respectfully request that he be permitted to
travel to New York from his residence in Colorado for an arraignment to be scheduled for next
Friday, April 22nd. We request permission for Mr. Shea to leave Colorado on April 21st and return
on April 23rd.

       Thank you for your consideration of this request.



                                                      Sincerely,

                                                      _/s/___________________
                                                      John Meringolo, Esq.
